Case 1:20-cr-00183-RJJ ECF No. 508, PageID.3864 Filed 03/01/22 Page 1 of 1

                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA,

         Plaintiff,                        Case No. 1:20−cr−183

   v.                                      Hon. Robert J. Jonker

ADAM DEAN FOX,
BARRY GORDON CROFT, JR.,
DANIEL JOSEPH HARRIS,
BRANDON MICHAEL−RAY CASERTA,

         Defendants.
                                       /



                           NOTICE OF HEARING


TAKE NOTICE that a hearing on the following motion(s) has been scheduled as
set forth below:


Motion(s):             Motion in Limine (ECF No. 493)
Date/Time:             March 4, 2022 01:30 PM
Magistrate Judge:      Sally J. Berens
Place/Location:        650 Federal Building, Grand Rapids, MI

Public audio access (listen only) for the hearing will be available by phone at
(888) 3634734 with Access Code 6957754#; RECORDING OR
BROADCASTING OF THIS PROCEEDING IS PROHIBITED LGenR 4.1(c)(i) and
(ii).




                                       SALLY J. BERENS
                                       U.S. Magistrate Judge

Dated: March 1, 2022             By:    /s/ Jenny Norton
                                       Courtroom Deputy
